4:24-cv-03177-SMB-MDN Doc # 64-8
Short Message Report

Conversations: 1
Total Messages: 3

Outline of Conversations

G3) +15153213939 » 3 messages on 9/30/2024

Filed: 01/31/25 Page 1of2-PageID#1145

Participants: 2
Date Range: 9/30/2024

<4026415432> » Dawn Pewick <5153213939>

4:24-cv-03177-SMB-MDN Doc#64-8 _ Filed: 01/31/25 Page 2 of 2 - Page ID #1146

Messages in chronological order (times are shown in GMT +00:00)

a

DP

>DP

>>

+15153213939

Dawn Pewick <5153213939> m 9/30/2024, 1:14 PM
When you can could you please call me. | have drivers calling me because they are not able to get anyone else on the
phone.

Receipts 12641! [R:9/30/2024, 1:37 PM

Dawn Pewick <5153213939> > 9/30/2024, 5:04 PM
Lunchtime it might be a bit about Broken Bow

Receipts » { [R:9/30/2024, 5:05 PM

<4026415432> 4 9/30/2024, 5:05 PM
K

Receipts * Dawn Pewick <! 939» [19:9/30/2024, 5:05 PM

